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                           +UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

UNITED STATES OF AMERICA

              Plaintiff,


v.                                                            Case No. 8:07-cr-0170-T-24-MSS

MAX WORLD ENTERTAINMENT, INC.,


              Defendant.

___________________________________/

                                           ORDER

       This cause comes before the Court on Motions to Appear Pro Hac Vice filed by

Defendant’s attorneys, H. Louis Sirkin, Scott R. Nazzarine, and Jennifer M. Kinsley (Doc. Nos.

25, 26, and 27). The Court notes that Mr. Sirkin, Mr. Nazzarine, and Ms. Kinsley have failed to

designate local counsel, sign up for CM/ECF, and pay their pro hace vice submission fees.

Accordingly, it is ORDERED and ADJUDGED that Mr. Sirkin’s, Mr. Nazzarinne’s, and Ms.

Kinsley’s Motions to Appear Pro Hac Vice are DENIED WITHOUT PREJUDICE. Because

Defendant’s attorneys are not admitted to practice before this Court, Defendant is deemed to be

proceeding pro se.

       DONE AND ORDERED at Tampa, Florida, this 30th day of July, 2007.




Copies to:
Pro Se Defendant
